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                                                                           S OFFICE U.S.DISTRICT COURT
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                          UM TED STATES DISTRICT COURT                                FILED
                          W ESTERN DISTRICT OF W RGINIA
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IJN ITED STA TES O F A M ER ICA
                                              l                                BY
              V.                              ) caseNo.: /.
                                                          :(pg@ gy x y
                                              )
DAW D BENJAIHN SHAFFER                        )
     M OTION FOR VOLUNTARY DISCLO SURE OF GR AND JURY AND OTHER
        M ATERIALS AND FOR LIM ITATIONS ON FURTHER DISCLO SURE

       The Urlited States,by counsel,m ovespursuantto FederalRules ofCrim inalProcedtlre

6(e),16,and26.2,26 U.S.C.jj 6103(h)(4)(D)and (i)(4)(A),and theauthodty ofthe Courttö
administerproceedingsbeforeit,thattheUnited Statesbepermitted to discloseto counselforthe

defense aspartofvoltmtary discovery,grand jtuy materials,tax ret'urn intbnnation,criminal
                                                                                       )
histories,m edicalrecords,witnessinterview reports,m aterialscovered by the Pdvacy Act,and

other m aterials. The United States and defense counsel may then use this m aterial for the

prosecution and defense oftllis case,respectively,and m ake such further disclostlresasm ay be

hecessary for,and forthe solepurpose of,prosecuting and defending thiscase.TheUzlited States

m oves forentry ofthe attached proposed Orderto coverany and allm aterialprovided by the

United StatesAttorney'sOffceto defensecounsel. Theattached proposed Orderisintended to:

           1. A dvance the case;

           2. Protectthesecrecy ofgrandjury,tax retul'n,criminalhistories,medicalrecords,
              witnessinterview reports,andotherm aterials;

              Prevent the tm authorized dissem ination of m aterials voluntarily provided by the

              United States,which dissemination would endangerwitnesses,subjectthem to
              intimidation, chill their candor, violate their privacy arld impede ftlttlre

              investigations'
                            ,and


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         4. Providqnoticeofsanctionsintheeventthesem aterialsweredeliberatelydisclosed

            in an unauthodzedm nnnerorto tmauthorized persons.

                                                 Respectfully submitted,

                                                 THOM S L CULLEN
                                                 United StatesAttorney


                                             '
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